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               IN THE efR:Ct1IT COURT                                                            CO        CK, CLERK
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SHARON IVY,
and as Administratrix of the
ESTATE OF EARL LEE PARKER,
and on Behalf of All Wrongful Death
Beneficiaries of EARL LEE PARK.ER,
Deceased,

v.                                     NO. CV-2017-293

DAVID D. NUGENT;                                                                       DEFENDANTS
PROPANE RESOURCES SUPPLY
AND MARKETING, L.L.C.;                                     This CJSf;' as::-igned t   o· .
PROPANE RESOURCES                                           . '' - . , ... ·    o istnct Judge l>11JRJ11A1<-
                                                          ar1u iu ka;;:strate Judge           /(F
TRANSPORTATION, L.L.C;                                                                                    fMNfY        _
PROPANE RESOURCES, L.L.C

                                     NOTICE OF REMOVAL

         Come now the Defendants, David D. Nugent, Propane Resources Supply and Marketing,

L.L.C., Propane Resources Transportation, L.L.C., and Propane Resources, L.L.C., by and through

their attorneys, Womack Phelps Puryear Mayfield & McNeil, P.A., and for their Notice of Removal,

state:

                                    PROCEDURAL HISTORY

         1.      On or about April 28, 2017, Plaintiff Sharon Ivy, as Administratrix of the Estate of

Earl Lee Parker 1, and on Behalf of All Wrongful Death Beneficiaries of Earl Lee Parker, Deceased

("Plaintiff') filed her Class Action Complaint against David D. Nugent, Propane Resources Supply

and Marketing, L.L.C., Propane Resources Transportation, L.L.C., and Propane Resources, L.L.C.

(collectively, the "Defendants"), Case No. CV-2017-293, in the Circuit Court of Crittenden County,


         1
       Defendants have not been provided proof of the capacity of the Administratrix to sue in
Arkansas.
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Arkansas (the "State Action") and issued separate summonses to Defendants. See Plaintiffs

Complaint attached hereto as Collective Exhibit A.

        2.      Plaintiffs Complaint alleges negligence

        3.      On or about May 8, 2017, the Defendants bearing the name Propane Resources were

served via certified mail.

        4.      On or about May 16, 2017, Separate Defendant David D. Nugent was served. See

Exhibit B, Summonses.

        5.      On or about May 31, 2017, Defendants filed their Answer to the Complaint. See

Exhibit C.

        6.      The remaining pleadings on file with the Circuit Clerk are attached as Exhibit D.

        7.      On or about July 5, 2017, Defendants received Plaintiff's              Responses to

Interrogatories and Requests for Production Propounded by Defendants. See Exhibits E. These

answers were not filed in the State Action. The pleadings filed and served are contained in Exhibits

A throughE.

        8.      Those Answers revealed that, contrary to the allegations in the Complaint, Plaintiff's

decedent was, like Plaintiff, a citizen of Arkansas.       These Interrogatories Answers and the

documents attached constitute an "other paper" from which the time for filing a Notice of Removal

is measured. 28 U.S.C. § 1446(b)(3); see, e.g., Lovern v. General Motors Corp., 121F.3d160, 161-

62 (41h Cir. 1997).

       9.      This Notice is filed in the United States District Court within the time allowed by law

for the removal of a civil action to said Court, pursuant to 28 U.S.C. §1446.




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        10.    Venue is proper in this court pursuant to 28 U.S.C. §1441(a) as the United States

District Court for the Eastern District of Arkansas, Jonesboro Division, is the Federaljudicial district

in which the Circuit Court of Crittenden County, in which this state action was filed, is found.

        11.    By filing this Notice, Defendants reserve the right to assert any defenses and/or

objections to which they may be entitled.

                                     BASIS FOR REMOVAL

        12.    Because Plaintiffs was a citizen of Arkansas at all pertinent times, the State Action

is removable to this Court based on diversity jurisdiction under 28 U.S.C. § 1332, as this is an action

between the citizens of different states.

        13.    Plaintiff, Sharon Ivy, alleges in her Complaint that Earl Lee Parker was a citizen of

Tennessee at the time of his death. See Exhibit A, iJ4.

        14.    Plaintiffs death certificate reflects that he was born in Marion, Arkansas, his original

domicile. Miss. Band of Choctaw Indians v. Holyfield, 490 U.S. 30, 48 (1989). The death

certificate and the coroner's report both reflect residency in West Memphis, Arkansas. See Exhibit

D. In candor to the Court, counsel discussed the address with the Deputy Coroner, who was

uncertain about the source and accuracy of the address information.

       15.     The Answers to Interrogatories reflect that Plaintiffs Decedent was in certain

facilities in Arkansas between March of 1995 until approximately November of2015. See Exhibit

D, Answer to Interrogatory No. 7. Plaintiffs decedent was domiciled in Arkansas during any time

he was institutionalized. See Dunlap by Wells v. Buchanan, 567 F. Supp. 1435, 1437 (E.D. Ark.

1983), affd 741F.2d 165 (8 1h Cir. 1984). Further, his domicile remained in Arkansas exclusively

at times where he was not institutionalized. See Martinez v. Bynum, 461 U.S. 321, 340 (1983);


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Williamson v. Osenton, 232 U.S. 619, 624 (1914); Yeldell v. Tutt, 913 F.2d 533, 537 (8th Cir.

1990).

         16.     Plaintiff listed a short stint of residency between February 1, 2016 and April 27, 2016

in two Memphis hospitals and a facility. See Exhibit D, Response to Interrogatory No. 12. No

residence is listed as of the date of death. This short stint does not establish the intent to remain

indefinitely in Tennessee.

         17.     Defendant Propane Resources, L.L.C., a limited liability company formed in Kansas

and having its principal place of business there, is the sole member of both Propane Resources

Supply & Marketing, L.L.C. and Propane Resources Transportation, L.L.C.               The members of

Propane Resources, L.L.C. are individual citizen of Missouri and a limited liability company whose

members are individual citizens of Minnesota.              Accordingly, the Defendant limited liability

companies are citizens of Missouri and Minnesota.

         18.     Defendant David D. Nugent is a citizen of Tennessee.

         19.     All Defendants have joined in the Notice ofRemoval.

         20.     A copy of this Notice has been filed with the Crittenden County Circuit Court Clerk

and provided to all adverse parties in this action, pursuant to 28 U.S.C. §1446(d).

         21.     Plaintiffs damages claims exceed the amount required for the amount controversy

for diversity of citizenship cases. 2 Plaintiff alleges general damages for pain, suffering, and mental

anguish, for the economic and intangible value of the life of decedent and special damages from

medical expenses and funeral expenses. See         iii!   17-19. The ad damnum contains a request for



         2
         By this statement, Defendants do not concede that any damages are owed and reserves all
rights to challenge damages further.

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punitive damages. Plaintiff did not plead a request for an amount in excess of the amount required

for jurisdiction in diversity of citizenship cases. The failure to make this allegation does not deprive

the Federal Court ofjurisdiction. See Haynes v. Louisville Latter Group. LLC, 341 F. Supp. 2d 1064

(E.D. Ark. 2004).

        22.         The verdict amount in wrongful death cases in Arkansas and elsewhere demonstrates

that a preponderance of the evidence exists that Plaintiff seeks damages in excess of $75,000.00.

See Potts v. Benjamin, 882F.2d 1320 (8 1hCir. 1989)(upholdingawardof$300,000.00each to parent

and $200,000.00 to each sibling for death of a two-year old child and unspecified amount of punitive

damages); Connell v. Steel Haulers. Inc., 455 F.2d 688 (8 1h Cir. 1972) (affirming verdict that

included $111,000.00 in compensatory damages for wrongful death in an accident with a tractor

trailer); D.R. Bond Const. Co. v. Foster, 354 Ark. 304, 121 S.W.3d 894 (2003) (affirming award

from collision with log truck of$175,000.00 and $267,000.00 in compensatory damages to estates

and $120,000.00 and $180,000.00 to the estates); Williams v. First Security Bank of Ark., 293 Ark.

388, 738 S.W.2d 99 (1987) (affirming wrongful death award of $75,000.00 each to husband and

children and $10,000.00 to the estate); Nat'l Byproducts. Inc. v. Searcy House Moving Co., 292

Ark. 491, 731 S.W.2d 194 (1987) (noting satisfied award in accident with tractor trailer truck of

compensatory damages of$3,000,000.00 and $1,400,000.00 respectively to estates and $100,000.00

in punitive damages to each estate); Rhodes v. Bernard, 248 Ark. 869, 454 S.W. 2d 318 (1970)

(noting an award of $10,000.00 for the benefit of the estate of decedent and $125,000.00 for the

benefit of the next-of-kin was not excessive in a negligence action for wrongful death involving a

tractor trailer).




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                                        CONCLUSION

       WHEREFORE, for the foregoing reasons, the State Action currently pending in the Circuit

Court for Crittenden County, Arkansas is hereby removed to the United States District Court for the

Eastern District of Arkansas.

                                      Respectfully submitted,

                                      Mark Mayfield (Bar No. 93180)
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                                CERTIFICATE OF SERVICE

       I certify that service of the above and foregoing pleading was made by mailing a copy of
same to the following attorneys ofrecord on this 31st day of July, 2017:

Danyelle Walker
323 Center Street, Suite 1020
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